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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

HARLEY BLANTON, on Behalf of                 Case No.:
Himself and All Others Similarly Situated,

                  Plaintiff,                 CLASS ACTION COMPLAINT
      v.
                                             JURY TRIAL DEMANDED
DOMINO’S PIZZA FRANCHISING LLC,
a Delaware Limited Liability Company;
DOMINO’S PIZZA MASTER ISSUER
LLC, a Delaware Limited Liability
Company; DOMINO’S PIZZA LLC, a
Michigan Limited Liability Company; and
DOMINO’S PIZZA, INC., a Delaware
Corporation,

                  Defendants.
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                         CLASS ACTION COMPLAINT

      Plaintiff, Harley Blanton, on behalf of himself and all others similarly

situated, with knowledge as to his own actions and events, and upon information and

belief as to other matters, alleges as follows:

                           NATURE OF THE ACTION

      1.     This action challenges, under Section 1 of the Sherman Act, an

employee no-poach and no-hiring agreement orchestrated by Defendants Domino’s

Pizza Franchising LLC, Domino’s Pizza Master Issuer LLC, Domino’s Pizza LLC,

and Domino’s Pizza, Inc. (together, “Defendants” or “Domino’s”) between and

among Domino’s restaurant franchisees, pursuant to which the franchisees agreed

not to solicit, poach, or hire each other’s employees. Domino’s orchestrated,

designed, dispersed, and enforced the policy among all franchisees, at least in part,

through explicit contractual agreements (and remedies for violation) in standard

franchise documents. The practice at issue reflects a naked restraint of competition

and a per se violation of the antitrust laws.

      2.     Domino’s calls itself the worldwide leader in pizza delivery. It has

stores in all 50 U.S. states (plus the District of Columbia and U.S. territories) and in

multiple international markets.

      3.     According to Domino’s 2018 Franchise Disclosure Document (the

“FDD”), approximately 93% of its 5,646 Domino’s Pizza Traditional U.S. stores are


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franchise restaurants. Franchise restaurants are independently owned and operated

by franchisees, who have executed a standard form franchise agreement with

Domino’s. Franchisees are separate and distinct legal entities from Domino’s. The

standard initial franchise fee is currently up to $25,000. Franchisees are responsible

for other fees as well, and agree to pay to Domino’s royalties of up to 5.5% of weekly

sales and advertising fees equal to 4% of sales.

      4.     Plaintiff and the Class are current and former employees of Domino’s

franchise restaurants. Plaintiff and the Class suffered reduced wages and benefits

and diminished employment opportunities as a result of the unlawful contract,

combination, or conspiracy alleged herein.

      5.     Domino’s claims to be the second largest pizza company in the world

and the number one pizza delivery company in the United States. It designates a

portion of its corporate website to franchising information. Domino’s says it has

“built its 50+ year success around its franchisees – independent business owners

with a common vision and mission to be the number one pizza company in the world.

Much of this success has come from our franchise business model, which is

primarily an internally-based franchise system.”1 Domino’s boasts an “industry-

leading technology platform [that] enables online ordering, direct email marketing,



1
      See https://biz.dominos.com/web/public/franchise (last visited Oct. 11, 2018)
(Ex. 1).


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cost controls and store management.”2 Domino’s claims that it has “great people

and great teams working extremely hard to help [franchisees] succeed. . . . Domino’s

franchise owners and team members know how to win and build strong teams that

outperform the competition every day.”3

      6.     But as part of the system that has made Domino’s the top pizza delivery

company in the United States, Domino’s franchisees, at the direction of and with the

assistance of Domino’s itself, have together colluded to suppress the wages and

employment opportunities of the restaurant-based employees who work at Domino’s

franchise locations throughout the United States.

      7.     In particular, beginning no later than 2013, Domino’s franchisees

contracted, combined, and/or conspired to not solicit, poach, or hire each other’s

employees.    This agreement was evidenced by franchisees’ written pledge in

Paragraph 20.4 of their franchise agreements to not:

      directly or indirectly, solicit or employ any person who is employed by
      [Domino’s], by any entity controlled by or affiliated with [Domino’s]
      or by any other of our franchisees, nor will you induce or attempt to
      induce any of these people to leave their employment without the prior
      written consent of their employers. We agree that we will not induce
      or attempt to induce any of your employees to leave their employment




2
      Id.
3
      Id.


                                          3
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       with you and become employed with us or our affiliates without your
       consent.4
Every franchisee signing a franchise agreement dating back to at least 2013 made

this same agreement.

       8.      Each franchisee further agreed that a violation of this provision would

cause irreparable harm and entitle Domino’s to injunctive relief “for the protection

of [Domino’s] and our franchisees,” with legal costs and expenses imposed on

franchisees.

       9.      In addition to the remedies set out above, each franchisee also agreed

that violation of the no-solicit and no-hire agreement gives rise to “for cause,” non-

curable default of the franchise agreement and that Domino’s may terminate the

franchise of a franchisee who violated the provision, thus triggering forfeiture of the

franchisee’s initial franchise fee, along with other post-termination penalty

provisions.

       10.     The Domino’s no-solicit and no-hire agreement is an unreasonable

restraint of trade.

       11.     As the Department of Justice (“DOJ”) Antitrust Division and Federal

Trade Commission’s (“FTC”) joint Antitrust Guidance for Human Resource

Professionals (October 2016) states: “Naked wage-fixing or no-poaching


4
     Domino’s Pizza Franchising LLC Standard Franchise Agreement (hereafter,
“FA”) at ¶ 20.4.


                                           4
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agreements among employers, whether entered into directly or through a third party

intermediary, are per se illegal under the antitrust laws.”5 The DOJ/FTC Guidance

elaborates:

      From an antitrust perspective, firms that compete to hire or retain
      employees are competitors in the employment marketplace, regardless
      of whether the firms make the same products or compete to provide the
      same services. It is unlawful for competitors to expressly or implicitly
      agree not to compete with one another, even if they are motivated by a
      desire to reduce costs.6
      12.     The no-poach and no-hire agreement between and among Domino’s

franchisees has eliminated franchisees’ incentives and ability to compete for

employees and has restricted employees’ mobility. This agreement has harmed

employees by lowering the salaries and benefits employees otherwise would have

commanded in a competitive marketplace, and has deprived employees of better job

growth opportunities.

      13.     The no-poach and no-hire agreement had and has the purpose of

restricting competition for labor and had and has the intended and actual effect of

fixing and suppressing compensation and restricting employment mobility. The no-

poaching agreement between and among Domino’s franchisees is a naked restraint

of trade that is per se unlawful under Section 1 of the Sherman Act, 15 U.S.C. §1.



5
      https://www.justice.gov/atr/file/903511/download (last visited Oct. 11, 2018)
(Ex. 2).
6
      Id.


                                         5
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As the orchestrator of the unlawful agreement, Domino’s bears per se liability

therefor.

                                 THE PARTIES

Plaintiff
      14.    Plaintiff Harley Blanton is a resident of Port Orange, Florida. He was

employed by a Domino’s franchisee-owned restaurant in Port Orange, Florida,

beginning in January 2017. Blanton was employed as a delivery driver and an in-

store employee, and was trained and acted as a store morning manager.

Defendants

      15.    Defendant Domino’s Pizza Franchising LLC is a Delaware limited

liability company, with its principal place of business at 24 Frank Lloyd Wright

Drive, Ann Arbor, Michigan. Domino’s Pizza Franchising LLC is the current

franchisor of Domino’s Pizza franchise restaurants in the United States.

      16.    Defendant Domino’s Pizza Master Issuer LLC is a Delaware limited

liability company, with its principal place of business at 24 Frank Lloyd Wright

Drive, Ann Arbor, Michigan. Domino’s Pizza Master Issuer LLC is the direct (and

sole) owner of Domino’s Pizza Franchising LLC. Pursuant to a securitization

transaction effective in or about April 2007, Domino’s Pizza Master Issuer LLC

became the franchisor under all then-existing U.S. franchise agreements.




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      17.    Defendant Domino’s Pizza LLC is a Michigan limited liability

company, with its principal place of business at 30 Frank Lloyd Wright Drive, Ann

Arbor, Michigan. Domino’s Pizza LLC is the indirect parent company of Domino’s

Master Pizza Issuer LLC and the indirect parent company of Domino’s Pizza

Franchising LLC. Domino’s Pizza LLC was the franchisor of Domino’s Pizza

franchise restaurants until the 2007 securitization transaction referred to above.

After that transaction, Domino’s Pizza LLC entered into a transaction or transactions

with Domino’s Pizza Franchising LLC, and Domino’s Pizza Master Issuer LLC,

pursuant to which Domino’s Pizza LLC provides support and services to franchisees

under their franchise agreements. Domino’s Pizza LLC also acts as Domino’s Pizza

Franchising LLC’s sales agent and earns servicing fees for these services.

      18.    Defendant Domino’s Pizza, Inc., is a Delaware corporation with its

principal place of business at 30 Frank Lloyd Wright Drive, Ann Arbor, Michigan.

Domino’s Pizza, Inc. is the indirect parent of Domino’s Pizza LLC, which it wholly

owns. Domino’s Pizza, Inc. is the parent company, directly or indirectly, of all

Domino’s Pizza related entities.

      19.    Domino’s is in the business of selling food to customers primarily

through independently owned and operated franchise restaurants. It has multiple

franchise restaurants in every state in the United States.




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Co-Conspirators

       20.    Various other corporations and persons not made defendants in this

Complaint, including Domino’s franchisees, participated as co-conspirators in the

violations alleged and performed acts and made statements in furtherance of the

violations alleged.

                           JURISDICTION AND VENUE

       21.    This action is instituted under Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§15 and 26, to recover treble damages and the costs of this suit, including

reasonable attorneys’ fees, against Defendants for the injuries sustained by Plaintiff

by virtue of Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. §1

and to enjoin further violations. The Court has subject matter jurisdiction under

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§15 and 26, under Section 4 of the

Sherman Act, 15 U.S.C. §4, and under 28 U.S.C. §§1331, 1332(d), and 1337 to

prevent and restrain the Defendants from violating Section 1 of the Sherman Act, 15

U.S.C. §1.

       22.    Venue is proper in this judicial district under Sections 4, 12, and 16 of

the Clayton Act, 15 U.S.C. §§15, 22, and 26, and under 28 U.S.C. §1391(b)(2),

(c)(2). Domino’s has its principal place of business in this district and transacts or

has transacted business in this district. A substantial part of the events that gave rise

to this action occurred in this district.



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      23.    Domino’s is in the business of selling food to consumers, in part,

through independently owned and operated franchise restaurants. These restaurants

are in each state in the United States, and Domino’s has substantial business

activities with each franchised restaurant, including entering into a contractual

franchise agreement with the owner of the franchise.         Domino’s engages in

substantial activities at issue in this Complaint that are in the flow of, and

substantially affect, interstate commerce.

                          FACTUAL ALLEGATIONS

      24.    Domino’s franchisees compete with each other.             In a properly

functioning and lawfully competitive labor market, Domino’s franchisees would

openly compete for labor, including management and other employees, by soliciting

current employees of one or more other franchisees (i.e., attempting to “poach” other

franchisees’ employees). A properly functioning labor market would involve “cold

calling”: the practice by which a prospective employer freely communicates with

prospective employees – even if the employee does not first express interest.

      25.    For instance, if Franchise A believes that a certain manager performs

her job well at Franchise B, then Franchise A would be free to contact that manager

about an employment opportunity. Conversely, if a manager employed by Franchise

B perceives Franchise A to be a better organization – whether because of increased




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wages, better benefits, or otherwise – then the manager would be free to

communicate with Franchise A about potential employment.

      26.     Poaching and cold-calling are thus important aspects of a lawfully

competitive labor market. Companies perceive other rival companies’ current

employees, especially those who are not actively seeking other employment, in a

more favorable way. This is true, at least in part, because companies value satisfied

employees who are good at their jobs, leading them to perceive a rival company’s

current employees as more qualified, harder working, and more stable than those

candidates who are unemployed or who are actively seeking employment. Thus, a

company seeking to hire a new employee will lessen the risks associated with that

hire by seeking to hire a rival’s employee. The Domino’s no-poach agreement

inhibits such lateral hiring of current employees because, unless Franchise B grants

permission, Franchise A cannot hire Franchise B’s current employee. Franchise A

can only do so once the employee has been separated from Franchise B, at which

time the employee likely will be viewed by Franchise A as less valuable. Cold-

calling and poaching are thus useful and key competitive tools for companies

seeking to recruit employees, particularly employees with unique skills, training, or

experience.

      27.     No-poaching agreements significantly impact employee compensation.

For example, an employee of Franchise B will lack information regarding Franchise



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A’s pay packages unless cold calling and open communications are permitted;

without such information, the employee lacks leverage when negotiating with

Franchise B. Similarly, unconstrained by a no-poaching agreement, if an employee

of Franchise B receives an offer of higher compensation from Franchise A, the

employee can either accept Franchise A’s offer or attempt to negotiate a pay increase

with Franchise B. Either way, the employee’s compensation increases.

       28.   An employee of Franchise B who receives information regarding

potential compensation from a rival employer will also likely inform other Franchise

B employees. These Franchise B employees can then also use that information to

negotiate pay increases or move to another employer – even if they do not receive a

cold call.

       29.   Increased mobility, combined with increased information and

transparency, regarding compensation levels tends to increase compensation across

all current employees in the labor market. After all, there is pressure amongst rival

employers to match or exceed the highest compensation package offered by rivals

in order to gain and retain skilled labor. Further, the possibility of losing talent to a

rival means companies will take steps to reduce the risks of poaching by assuring

that employees are not undercompensated.




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      30.   In a properly functioning and lawfully competitive labor market,

Domino’s franchisees would also openly compete for labor by hiring those qualified

employees of competing franchises who seek out employment with other franchises.

      31.   The beneficial effects of competition (and beneficial effects on

compensation) are not, however, limited to those particular individuals who receive

cold calls or who wish to speak to a rival company about an employment

opportunity. The effects instead impact all similarly situated employees because of

the effect on information flow and on competition for labor.

      32.   For all these reasons, the principle of free competition applies to the

labor market as well as to trade. “In terms of suppressing competition, companies

agreeing not to compete for each other’s employees is the same as companies

agreeing not to compete for each other’s customers,” says Joseph Harrington,

Wharton Professor of Business Economics and Public Policy, in his description of a

no-poaching agreement.

      33.   According to Peter Cappelli, Wharton Professor of Management and

director of Wharton’s Center for Human Resources, a no-poaching agreement is

unfair to employees and such a pact “benefits the companies at the expense of their

employees.” Mr. Cappelli notes that the reason such agreements are illegal and

violate both antitrust and employment laws is because “[c]ompanies could achieve

the same results by making it attractive enough for employees not to leave.”



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      34.      The collusion of employers to refrain from hiring each other’s

employees restricts employee mobility. This raises employers’ power in the market

at the expense of employees and diminishes employee bargaining power. This is

especially harmful to employees of Domino’s franchise restaurants, as those

employees are frequently paid below a living wage, and the marketable skills they

acquire through their work at Domino’s restaurants primarily have value only to

other Domino’s restaurants and do not transfer to other fast food restaurants or

businesses.7    In addition, widespread use of no-poach agreements within the

franchise industry at large effectively reduces the number of competitive employers

in a market to no more than the number of franchise companies.           No-poach

agreements have anti-competitive impact in labor markets analogous to that of

mergers in product markets.

      35.      Although unemployment in the United States is currently very low,

wage growth has been slow. A decade removed from the Great Recession, wage

growth has remained stuck below 3%.8 A growing number of commentators have


7
       In 2014, the average hourly wage of fast food employees was $9.09 or less
than $19,000 per year for a full-time worker. The poverty level of a family of four
in the U.S. is $23,850. Patrick M. Sheridan, Low Wage, health activists prepare
McDonald’s attack, CNN MONEY (May 20, 2014) http://money.cnn.com/
2014/05/20/news/companies/mcdonalds-meeting (last visited Oct. 11, 2018) (Ex. 3).

8
     See    https://www.marketplace.org/2018/02/02/economy/here-truth-about-
wages-you-won-t-hear-trump (last visited Oct. 11, 2018) (Ex. 4).


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identified proliferating employer no-poaching agreements – including those used

within franchise systems – and dubious employee non-compete agreements as

significant contributors to this stagnant wage growth.9

      36.    The United States DOJ has pursued and resolved civil antitrust

investigations relating to no-poach agreements made between or among employers.

In 2010, DOJ settlements with six high-tech employers prohibited those companies

from engaging in anticompetitive no-solicitation agreements relating to their

employees on a going-forward basis.

      37.    As noted above, the 2016 DOJ/FTC Antitrust Guidance for Human

Resource Professionals states: “Naked wage-fixing or no-poaching agreements

among employers, whether entered into directly or through a third party

intermediary, are per se illegal under the antitrust laws.”

      38.    On November 21, 2017, United States Senators Cory Booker and

Elizabeth Warren wrote to Attorney General Jeff Sessions, asking the AG to respond




9
       See, e.g., Rachel Abrams, Why Aren’t Paychecks Growing? A Burger Joint
Clause Offers a Clue, NEW YORK TIMES (Sept. 27, 2017),
https://www.nytimes.com/2017/09/27/business/pay-growth-fast-food-hiring.html
(last visited Oct. 11, 2018) (Ex. 5); Alan B. Krueger and Eric Posner, Opinion:
Corporate America Is Suppressing Wages For Many Workers, NEW YORK TIMES
(Feb. 28, 2018), https://www.nytimes.com/2018/02/28/opinion/corporate-america-
suppressing-wages.html (last visited Oct. 11, 2018) (Ex. 6).


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to questions about DOJ’s approach to addressing the anti-competitive effects of

proliferating no-poach agreements in the franchise context in particular.

      39.    In January 2018, and at several speaking events since that time, DOJ

antitrust chief and Assistant Attorney General, Makan Delrahim, disclosed that the

DOJ Antitrust Division is presently pursuing a number of criminal cases relating to

employer no-hire agreements. As noted above, DOJ treats such agreements as, per

se, unlawful under Section 1 of the Sherman Act.

      40.    In April 2018, the DOJ announced that it had resolved an investigation

into a no-poach agreement among firms in the rail industry, which – like the other

matters discussed above – it labeled as per se unlawful.

      41.    In July 2018, Attorneys General from 11 states announced an

investigation into no-poaching hiring practices at a number of fast food franchise

chains. According to a release from Illinois Attorney General Lisa Madigan, the

state is investigating no-poach agreements because those agreements “unfairly stop[]

low-income workers from advancing and depress[] their wages.” The state AGs

demanded documents and information from franchisors about their no-poach

practices.

      42.    In July 2018, Washington Attorney General Bob Ferguson announced

that in order to avoid lawsuits, seven franchisors had reached agreements to




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discontinue enforcement of no-poach provisions and to take steps to remove no-

poach language from franchise agreements going forward.

      43.   In August 2018, Attorney General Ferguson announced that in order to

avoid lawsuits, eight more franchisors had entered into Assurances of

Discontinuation relating to no-poach and no-hire agreements. None of the foregoing

agreements resolved any civil liability to franchisee employees.

      44.   Domino’s remains under investigation by (at least) the Washington

Attorney General and has not entered into an Assurance of Discontinuance with

Attorney General Ferguson. Ferguson recently labeled Domino’s “uncooperative.”

A Domino’s spokesman told Bloomberg that it “removed” the non-solicitation

provision and “released franchisees nationwide from any obligation to comply with

it.” The Domino’s no-poach provision as quoted in this complaint exists in the

Domino’s franchise agreement appended to the 2018 FDD (dated April 2018). It

also existed in every franchise agreement dating back to at least 2013. Accordingly,

even if Domino’s has actually removed the provision at some time after April 2018,

every Domino’s franchisee to have signed a franchise agreement through at least that

date has agreed to and contractually bound itself to the restraint complained of

herein.




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The Domino’s System

      45.    Domino’s opened its first restaurant in 1960 and offered its first

franchises in 1967. It calls itself the “worldwide leader in pizza delivery.” Domino’s

restaurants’ primary menu items are pizza, sandwiches, cheesy bread products, and

other related items.

      46.    As of Q1 2017, Domino’s had almost 5,400 U.S. restaurant locations.

According to its website, Domino’s stores are more than 97% franchise-owned, with

nearly 800 independent franchise owners in the U.S. Domino’s Q2 2018 statistics

include 5,296 domestic franchise stores and 396 Company-owned stores. According

to its website, Domino’s operates 14,000 stores worldwide, in more than 85

countries. There are more than 260,000 Domino’s employees worldwide.

      47.    Domino’s traditional store franchise restaurants are located in shopping

centers, strip centers, and similar retail locations. Each franchisee is responsible for

locating an appropriate restaurant site, which must be approved by Domino’s. The

franchise is required to operate the restaurant at the specific site that Domino’s

approves, and may not relocate without Domino’s approval.

      48.    Most of the Company’s franchises are subject to a standard 10-year

franchise license agreement. Franchisees who satisfy certain criteria can renew their

franchises at the end of a 10-year term by signing the then-current franchise

agreement. The initial Domino’s franchise fee falls within a range, which reaches



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up to $25,000. Domino’s estimates the initial investment necessary to operate a

traditional store as between $141,150 to $542,400.

       49.   Each franchise is operated as an independently owned and managed

business, by an entity that is a separate legal entity from Domino’s. Domino’s

licenses to franchisees the right to use the Domino’s brand and system in the

operation of these independently owned franchise restaurants.

       50.   Like other fast food chains in the industry, Domino’s restaurants

maintain teams of staff in order to oversee operations and guide entry-level

employees through daily responsibilities.

Domino’s Franchisees: Independent Restaurant Owners Competing with One
Another
       51.   Each franchise is operated by an entity that is a separate legal entity

from Domino’s. Each franchise is an independently owned and independently

managed business.

       52.   In executing the Domino’s franchise agreement, a franchisee

specifically acknowledges and represents that it is an independent business person

or entity.

       53.   A franchisee agrees contractually to exhibit on the store premises and

on all delivery vehicles “signs of sufficient prominence and wording as we may




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prescribe from time to time so as to advise the public”10 that the store (and the

vehicle) is owned, operated, and maintained by the franchisee (or the vehicle owner)

rather than by Domino’s. Similar requirements apply to business cards, letterheads,

and other business materials and advertisements.

      54.   The “Careers at Domino’s” section of Domino’s website notifies

visitors that “Most Domino’s stores are owned and operated by independent

franchisees rather than Domino’s Pizza LLC. Each franchisee is a separate and

distinct company from Domino’s Pizza LLC.”11

      55.   Franchisees are responsible for day-to-day operations, including

employment matters.       Each franchisee specifically agrees that it is “solely

responsible for recruiting, hiring, training, scheduling for work, supervising and

paying the persons who work in the Store and those persons shall be your employees,

and not [Domino’s] agents or employees.”12 Franchisees must secure and maintain

all required business licenses, permits, and certificates to operate the store in

compliance with applicable laws, ordinances, and regulations.




10
      See FA at ¶ 15.8.
11
      See https://jobs.dominos.com/dominos-careers/ (last visited Oct. 11, 2018)
(Ex. 7).
12
      See FA at ¶ 15.6.


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      56.   The Domino’s FDD likewise informs prospective franchisees that they

are “solely responsible for making hiring and other employment decisions”13 for

their stores. The FDD also informs prospective franchisees that they must accept

and process applications for store-level positions through a common online platform

(for which franchisees must pay), though it purports to make franchisees responsible

for “ensuring your compliance with applicable laws, rules, regulations, and

ordinances.”14

      57.   The “Careers at Domino’s” section of the website states that:

      All hiring and other employment decisions in a franchise store are made
      solely by the franchisee and not Domino’s Pizza LLC, and individuals
      hired into a franchise store are employees of the franchisee and not
      Domino’s Pizza LLC.            The specific store operations, work
      environments, and terms and conditions of employment (including but
      not limited to hours, pay, and benefits) can vary by store and franchisee.
      Domino’s Pizza LLC makes no warranties or representations, and
      undertakes no obligations, related to the operation or management of a
      franchise store or any hiring or other employment decisions made by a
      franchisee. Any questions related to employment in a franchise store
      should be directed to the franchisee. Domino’s Pizza LLC cannot and
      does not guarantee employment to any individuals.15

      58.   Domino’s and franchisees agree by contract – i.e., in the franchise

agreement – that they operate as independent contractors as to each other. The

franchise agreement specifies that franchisees and Domino’s do not have a fiduciary


13
      FDD Item 8.
14
      Id.
15
      See Ex. 7.


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relationship, nor a principal-agent relationship. Franchisees agree that they have no

authority to act for or on behalf of Domino’s, or to contractually bind Domino’s to

any agreement. Neither franchisees nor Domino’s has authority to assume liability

for the acts of the other or to alter the legal relationships of the other.

      59.    Domino’s franchise restaurants compete with each other. In the FDD,

Domino’s tells prospective franchisees that their costs “will depend on the following

factors: how much you follow our methods and procedures; your management skill,

experience, and business acumen; local economic conditions, the local market for

your products and services; the prevailing wage rate; competition; and the sales level

reached during the initial period.”16

      60.    The traditional Domino’s franchise is for a single restaurant at a

specified location. The FDD informs prospective franchisees “You will not receive

an exclusive territory under our Traditional Store Franchise Agreement. You may

face competition from other franchisees, from outlets that we own, or from other

channels of distribution or competitive brands that we control.”17              The FDD,

moreover, confirms that Domino’s retains the right to “define the parameters of the

delivery and service area in accordance with our policy. . . . [Domino’s] has the

right, in [its] sole discretion to adjust the size of [the franchisee’s] delivery and


16
      FDD Item 7.
17
      Id. at Item 12.


                                            21
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service area to account for changes in market conditions, population changes or other

considerations.”18

The Agreement Not to Compete for Management Employees
      61.    Notwithstanding that each franchise is an independently owned and

operated business that competes with other franchises, and notwithstanding that each

(ostensibly) is “solely responsible” for its own employment decisions, including

recruiting and hiring, Domino’s franchisees have agreed not to compete with each

other with respect to employee hiring.         This agreement is evidenced by and

memorialized in explicit contractual terms contained in franchisees’ Domino’s

franchise agreements.

      62.    In particular, each franchisee who signed a new (or renewed) franchise

agreement on a date beginning at least as far back as January 2013 and continuing

to at least April 2018 agreed not to “directly or indirectly . . . solicit or employ any

person who is employed by [Domino’s], by any entity controlled by or affiliated

with [Domino’s] or by any other of our franchisees, nor will you induce or attempt

to induce any of these people to leave their employment without the prior written

consent of their employers.”19 Domino’s itself “agree[d] that we will not induce or

attempt to induce any of [a franchisee’s] employees to leave their employment with


18
      Id.
19
      See FA at ¶ 20.4.


                                          22
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[the franchisee] and become employed with us or our affiliates without your

consent.”20

      63.     Each of these Domino’s franchisees further expressly agreed by

contract that violations of the no-poach and no-hire agreement give rise to

“irreparable injury and injunctive relief” rights. Franchisees agreed that damages

alone were inadequate compensation for violation, that Domino’s “will suffer

irreparable harm arising out of any such violation and that injunctive relief against

[the violating franchisee and its] owners is essential for the protection of us and our

franchisees.”21

      64.     Franchisee owners must execute a personal covenant appended to the

franchise agreement, pursuant to which they agree to be personally bound by certain

of the covenants contained in the franchise agreement. This specifically includes

the no-poach and no-hiring covenants.

      65.     Franchisees also agree to onerous penalties for any violation of the no-

poach pact. The Domino’s FDD warns prospective franchisees that a violation of

the no-poach agreement constitutes a non-curable default of the franchise agreement

and is grounds for termination of the franchise. The franchise agreement itself

confirms that Domino’s may immediately terminate the franchise if the franchisee,


20
      Id.
21
      See FA at ¶ 20.10.


                                          23
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or any of its owners, violate the no-solicit and no-hire agreement. Franchisees

further agree that a violation of the no-solicit and no-hire pact is a basis for Domino’s

to refuse to renew the franchise at the end of its term. A violation of the no-poach

agreement thus risks the franchisee’s entire investment in the business.

      66.    Franchise termination carries additional risks.        In executing their

franchise agreements, franchisees further covenant that for a period of one year after

termination of a franchise, neither the franchisee nor its owners will “own, engage

in, be employed by . . . or have any other interest, whether financial or otherwise, in

any carry-out or delivery pizza store business located at the premises of the Store or

within ten (10) miles of the premises of the Store . . . .”22 Franchisees further agree

that for the same period of time they will not solicit or employ any person employed

by Domino’s or by another franchisee, or induce or attempt to induce any such

person to leave their employment without the prior written consent of their

employers.

      67.    Domino’s discloses in its FDD that it has pursued and prevailed against

a former franchisee for violation of post-termination covenants in the operation of a

competing business at a former franchise location.




22
      See FA at ¶ 20.2.


                                           24
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      68.    Finally, franchisees agree that in the event of “any legal or equitable

action” to enforce the terms of the franchise agreement, Domino’s is entitled to

recover from the franchisee – in addition to any judgment it might win – attorneys’

fees, court costs, and expenses of litigation, irrespective of whether it prevails.

      69.    Violations of the no-poach agreement thus subject a franchisee to

injunctive relief, termination of the franchise, legal fees and expenses, and the

damage of a covenant to not compete against Domino’s or to solicit or hire Domino’s

or Domino’s franchisees’ employees, even after termination.

      70.    Domino’s franchises, like other franchises, are made available on

standardized terms. So a franchisee who enters into a Domino’s franchise agreement

knows that the same terms it has agreed to also apply to other franchisees.

      71.    One of the standard terms in Domino’s franchise agreements with all

its franchisees, signing agreements at least until April 2018, is the no-poach

provision referred to above.      Franchisees thus reasonably know that all other

franchisees have agreed to the same no-poach and no-hire agreement.

      72.    Even if some franchisees signed a different franchise agreement after

April 2018, there were, as of December 31, 2016, almost 5,000 franchises already in

existence and operating under older versions of the franchise agreement that

contained the no-poach and no-hire restraint.




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      73.    The Domino’s franchise agreement contains an integration clause.

Franchisees specifically contract that the franchise agreement may not be modified,

amended, or changed except by a writing signed by all parties.

      74.    The Domino’s FDD includes a list of all Domino’s franchisees,

organized by state, city, and street address. Franchisees thus know that these entities

are the other franchisees as to whom the no-poach agreement memorialized in the

franchise agreement applies.

      75.    The no-poach and no-hire agreement among Domino’s franchisees is

short-sighted and ultimately not in the franchisees’ independent interest, even

though it is in the interest of the conspirators as a whole when acting together.

      76.    The no-poach and no-hire agreement does not serve the interests of

ensuring that Domino’s restaurants produce a quality product.

      77.    The no-poach and no-hire agreement does not serve fast-food

customers because it does not incentivize Domino’s franchisees to invest in training

workers to improve Domino’s food, experience, and service.

      78.    Consumers can gain from competition among employers because a

more competitive workforce may create more or better goods and services. Further,

unemployment is at record lows, yet wage growth has remained sluggish. Fast-food

workers regularly rely on public assistance to supplement their income. Higher

wages would lessen the strain on public assistance, benefiting all consumers.



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      79.    The no-poach and no-hire agreement is not in the independent interest

of Domino’s franchisees if acting unilaterally. Employees are critical to the success

of Domino’s franchises. A significant component of making the franchise profitable

is hiring qualified, motivated, and superior employees. Therefore, it is in the

independent interest of each Domino’s franchisee to compete for the most talented

and experienced restaurant employees.

      80.    By adhering to the no-poach and no-hire agreement, franchisees

artificially restrict their own ability to hire employees in a manner that is inconsistent

with their own unilateral economic interests. By acting in concert, however, they

also protect themselves from having their own employees poached by other

franchises that see additional value in those employees, such as their training,

experience, and/or work ethic. This allows franchisees to retain their best employees

without having to pay market wages to these employees or compete in the market

place relative to working conditions and promotion opportunities.

      81.    Most importantly, the no-poach and no-hire agreement does not serve

franchisee employees because it does not incentivize franchisees to invest in higher

wages, benefits, and improved working conditions, i.e., to compete for their labor.

It also dis-incentivizes employees to perform their best work as those efforts are not

rewarded commensurately.         Competition among employers helps actual and




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potential employees through higher wages, better benefits, or other terms of

employment.

       82.    Domino’s franchisees have a shared interest, however, in keeping labor

costs low. As noted above, franchisees pay to Domino’s royalties based on a

percentage of gross sales. Cost of labor therefore has a direct impact on franchisee

profitability. By agreeing to not compete for labor, they act against their unilateral

self-interest, but serve their shared interest.

       83.    But for the no-poach agreement, each Domino’s franchise is its own

economic decision-maker with respect to hiring, firing, staffing, promotions and

employee wages. But for the no-poach agreement, each Domino’s franchise would

compete with each other for the best-performing employees.

Other Evidence of Domino’s System-Wide Commitment to Suppressing
Employee Wages and Mobility and of the Unlawful Agreement
       84.    Low wages are consistent, even if not uniform, across the Domino’s

system.      This has allowed Domino’s owners and executives, and Domino’s

franchisees, to become wealthy while full-time, hardworking employees often must

resort to government benefits just to put food on their own tables. A significant

reason for this is that Domino’s has orchestrated an agreement among franchisees to

stifle employee wages and mobility.

       85.    The average fast-food worker in the United States makes approximately

$19,900 per year, while the average fast-food CEO earns $1.2 million per year.


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      86.    If franchisees had to either pay and promote good employees, or lose

them to competitor locations, they would be forced to pay competitive wages and

provide competitive promotion opportunities. However, because of the no-hire

agreement, and because the education, training, and experience within the Domino’s

system are unique to Domino’s and not transferrable to other restaurants, Domino’s

franchisees do not have to compete with other Domino’s franchisees, and do not

have to compete with non-Domino’s businesses for their employees except at the

entry-level position.

      87.    Hart Research Associates surveyed 1,088 fast food workers in 10 major

metro areas, and found that 89% of fast food workers have experienced wage-theft,

in multiple forms, at their fast food job. Wage theft occurred through forcing

employees to work off the clock, not paying workers for all hours worked, denying

breaks, and failing to pay for overtime.23

      88.    From 2007 to 2011, fast food workers in the U.S. drew an average of

$7 billion of public assistance annually because of low wages.

      89.    Domino’s is a member of the American Pizza Community (the “APC”),

a powerful arm of the food industry lobby specifically speaking for “Big Pizza.” The

APC coalition was founded in 2010 and includes many of the nation’s other largest



23
      See  Hart    Research   Survey,       http://big.assets.huffingtonpost.com/
NationalWageTheftPollMemo.pdf (last visited Oct. 11, 2018) (Ex. 8).


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pizza retailer chains, including Little Caesar, Papa John’s, and Pizza Hut – each of

which, like Domino’s, is a franchisor. Among other causes, the APC has been an

active critic of the Department of Labor’s final ruling on overtime eligibility in 2016.

That ruling doubled the overtime salary threshold from $23,660 to $47,476,

guaranteeing overtime pay for millions of additional workers. The APC previously

opposed a minimum wage hike in California and lists labor employment policies as

among the top issues on its website.

      90.    Domino’s and its franchisees are well-versed in no-poaching efforts as

they regularly employ highly restrictive “non-compete” agreements binding the

franchise owners. Pursuant to the franchise agreement, both during and after the

franchise term, Domino’s franchisees are contractually prohibited from engaging

indirectly or directly in any other carry-out or delivery pizza store business.

      91.    In addition to their shared motivation to enforce the no-hire agreement,

and their actual understanding of the no-hire agreement, Domino’s franchisees also

have abundant opportunity to communicate about and coordinate their no-hire

agreement. Domino’s holds regular or annual business conferences or conventions,

at which franchisees have an opportunity to meet and discuss their no-poaching

scheme.     Domino’s franchisees also take part in the Domino’s Franchisee

Association and/or the Domino’s Franchisee Forum. The Domino’s Franchisee




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Association holds its own regular or annual national meeting, where franchisees

discuss issues including recruitment and staffing.

Employment with Non-Domino’s Brands Is Not a Reasonable Substitute for
Domino’s Employees

      92.    Training, education, and experience within the Domino’s system are

not transferrable to other restaurants for a number of reasons.

      93.    The Domino’s FDD informs prospective franchisees that they must use

the management system and computer hardware and software and related technology

designated by Domino’s, including for such issues as online ordering. Domino’s

specifies an online platform to be used by franchisees for hiring and employment

decisions. The franchise agreement requires that franchisees use “specially designed

equipment, computer hardware and software designed by us, and specifications for

the preparation and sale of pizza and certain authorized food products.”24

Experience with this equipment and these specifications is of little value outside the

Domino’s system.

      94.    Franchisees are required to utilize the proprietary Domino’s PULSE

system, which functions as a point of sale computer system with employee time

clock, scheduling, cost management and reporting, with payroll and commercial




24
      See FA at ¶ 1.


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accounting interface. Experience with these systems is of little value to other brand

restaurants.

      95.      Franchisees use approved or mandatory suppliers and vendors specified

by Domino’s. Experience with these vendors is of little value to other restaurants.

      96.      Franchisees also utilize proprietary store operating procedures,

described in copyright-protected Operating Manuals, Training Manuals, videotapes

and related materials, and certain proprietary software.       These materials are

proprietary and confidential.

      97.      A no-poach and no-hire agreement like the agreement among Domino’s

franchisees reduces employees’ outside options and lowers their quit rate, thereby

increasing the share of net-returns captured by employers. Further, a franchise-wide

no-hire agreement increases the specificity of human capital investment, as training

that is productive throughout the franchise chain can be used only by a single

franchisee pursuant to the agreement.

               REPRESENTATIVE PLAINTIFF ALLEGATIONS
                       AND ANTITRUST INJURY

      98.      Plaintiff, Harley Blanton, began working at a franchisee-owned

Domino’s restaurant at 1820 Dunlawton Avenue in Port Orange, Florida in or about

January 2017. At all relevant times, Blanton was an at-will employee, paid on an

hourly basis or at an annual salary rate.




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      99.    Blanton started as an in-store employee and delivery driver, at a rate of

$8.25 per hour in-store and $5 per hour for delivery work.

      100. Blanton quickly received training to work as a store morning manager,

the duties of which included, among other things, opening the store, having access

to put money in the safe (and cash register), and access to employee check-in and

check-out on the computer system. Blanton was told by his manager that he would

receive an increase in his hourly rate with these duties, but he never did receive an

increase.

      101. Blanton quit his job at the Domino’s restaurant in April or May 2017,

after it repeatedly cut back his hours.

      102. Because Blanton was unable to transfer to a competing Domino’s

franchise restaurant, his only options were to stay at the Dunlawton Avenue store,

or quit and start over at an entry job and wage in another setting.

      103. The no-poach and no-hire agreement among Domino’s franchisees

suppressed Plaintiff’s wages, inhibited his employment mobility, and lessened his

professional work opportunities.

Antitrust Injury

      104. Plaintiff suffered reduced wages, reduced employment benefits, loss of

professional growth opportunities, and worsened working conditions because of the




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express restraint of trade among Domino’s franchisees, as orchestrated by Domino’s

itself.

          105. Suppressed wages and employment benefits resulting from employers’

agreement not to compete with each other in the labor market is injury of the type

the antitrust laws were intended to prevent and flows from that which makes the no-

poach and no-hire agreement unlawful.

          106. Indeed, the no-poach and no-hire agreement embodies norms that are

widely accepted across the fast-food industry and familiar to franchisees.      In

advising new restaurant owners on how to hire their first general manager, one

industry expert instructs that, “you have to be careful that you do not earn a

reputation for stealing other people’s employees.”

          107. The potential for broader collusion in franchise chains is enhanced

when no-poach agreements are in place. Collusion is promoted when the no-poach

agreements can be easily generated and monitored amongst a concentrated group of

competitors who all stand to gain profits from the collusion while maintaining

similar costs.

          108. The Domino’s franchisees’ no-hire agreement significantly restricts

employment opportunities for low-wage workers at all Domino’s restaurants,

including those who have not sought employment with a competitor franchise and




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those who have not been contacted by a competitor franchise. Such a restriction

causes a wider effect upon all Domino’s restaurant employees.

      109. Plaintiff was a victim of the no-poach and no-hire agreement. By

adhering to that agreement, otherwise independently owned and operated competitor

businesses suppressed wages and stifled labor market competition for improved

employment opportunities.

                            CLASS ALLEGATIONS

      110. Plaintiff brings this action on behalf of himself, and on behalf of a

nationwide class pursuant to Federal Rules of Civil Procedure, Rules 23(a), 23(b)(2),

and/or 23(b)(3).

      All persons in the United States who are current or former employees
      at all franchisee-operated Domino’s restaurants.

      111. Excluded from the Class are Defendants, their affiliates, officers and

directors, and the Court. Plaintiff reserves the right to modify, change, or expand

the Class definition on discovery and further investigation.

      112. Numerosity: Upon information and belief, the Class is so numerous

that joinder of all members is impractical; there are thousands of Domino’s

restaurants in the U.S. While the exact number and identities of the individual

Members of the Class are unknown at this time, such information being in the sole

possession of Defendants and obtainable by Plaintiff only through the discovery




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process, Plaintiff believes, and on that basis alleges, that thousands of Class

Members are the subjects of the Class.

        113. Existence and Predominance of Common Questions of Fact and Law:

Common questions of fact and law exist as to all members of the Class. These

questions predominate over the questions affecting individual Class members. These

common legal and factual questions include, but are not limited to, whether:

              a.     defendants orchestrated and engaged in unlawful contracts,

combinations, and/or conspiracies in restraint of trade and commerce;

              b.     defendants violated the Sherman Antitrust Act, 15 U.S.C. §§1, et

seq.;

              c.     defendants should be required to disclose the existence of such

agreements, contracts, combinations, and/or conspiracies;

              d.     Plaintiff and Class members are entitled to damages, restitution,

disgorgement, equitable relief, and/or other relief; and

              e.     the amount and nature of such relief to be awarded to Plaintiff

and the Class.

        114. Typicality: All of Plaintiff’s claims are typical of the claims of the Class

inasmuch as Plaintiff was a Domino’s franchisee restaurant employee and each

member of the Class either was or is a Domino’s franchisee restaurant employee

subject to the same agreements and rules as Plaintiff. Further, Plaintiff and all the



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members of the Class sustained the same monetary and economic injuries of being

subjected to artificial suppression of compensation, wages, benefits, and growth

opportunity, and the remedy sought for each is the same in which Plaintiff seeks

relief against Defendants for himself and all Class members.

      115. Adequacy: Plaintiff is an adequate representative because his interests

do not conflict with the interests of the Class that he seeks to represent, he has

retained counsel competent and highly experienced in complex class action

litigation, and he intends to prosecute this action vigorously. The interest of the

Class will be fairly and adequately protected by Plaintiff and his counsel.

      116. Superiority: A class action is superior to all other available means of

fair and efficient adjudication of the claims of Plaintiff and members of the Class.

The injuries suffered by each individual Class member are relatively small in

comparison to the burden and expense of the individual prosecution of the complex

and extensive litigation necessitated by Defendants’ conduct. It would be virtually

impossible for members of the Class individually to redress effectively the wrongs

done to them. Even if the members of the Class could afford such individual

litigation, the court system could not. Individualized litigation presents a potential

for inconsistent or contradictory judgments. Individualized litigation increases the

delay and expense to all parties, and to the court system, presented by the complex

legal and factual issues of the case. By contrast, the class action device presents far



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fewer management difficulties, and provides the benefits of single adjudication, an

economy of scale, and comprehensive supervision by a single court.               Upon

information and belief, members of the Class can be readily identified and notified

based on, inter alia, Defendants’ employment records and franchisees’ records.

      117. Defendants have acted, and refused to act, on grounds generally

applicable to the Class, thereby making appropriate final equitable relief with respect

to the Class as a whole.

                       FRAUDULENT CONCEALMENT

      118. Plaintiff and Class members had neither actual nor constructive

knowledge of the unlawful no-poach and no-hiring conspiracy orchestrated by

Defendants, nor would any reasonable amount of diligence by Plaintiff or the Class

have put them on notice of the conspiracy. Any statute of limitations is therefore

tolled by Defendants’ intentional concealment of their no-poach and no-hire

agreement. Plaintiff and Class members were deceived regarding Defendants’

collusion to suppress wages and employment mobility and could not reasonably

discover the Defendants’ anticompetitive conduct.

      119. Neither Defendants nor franchisees disclosed the existence of the no-

poach and no-hire conspiracy to Plaintiff or Class members.

      120. Domino’s public statements conceal the fact that it orchestrated and

engaged in a no-poach and no-hire conspiracy among franchisees.


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      121. The “Careers at Domino’s” section of Domino’s corporate website

directs prospective employees to the particular job openings available at specific

franchise and store locations in the geographic area selected by a prospective

employee, suggesting that those locations are individually responsible for all hiring

decisions and employment policies.

      122. Indeed, as noted above, the legend at the bottom of each page in this

same section of the website states that:

      All hiring and other employment decisions in a franchise store are made
      solely by the franchisee and not Domino’s Pizza LLC, and individuals
      hired into a franchise store are employees of the franchisee and not
      Domino’s Pizza LLC.            The specific store operations, work
      environments, and terms and conditions of employment (including but
      not limited to hours, pay, and benefits) can vary by store and franchisee.
      Domino’s Pizza LLC makes no warranties or representations, and
      undertakes no obligations, related to the operation or management of a
      franchise store or any hiring or other employment decisions made by a
      franchisee. Any questions related to employment in a franchise store
      should be directed to the franchisee. Domino’s Pizza LLC cannot and
      does not guarantee employment to any individuals.25

      123. These statements highlight the supposed independence of franchisee-

employers and conceal the existence of the collusive no-poach agreement.

      124. Domino’s also tells employees and prospective employees that

employees can advance through its system: “Many of our corporate and franchise

store team members have made the leap from entry-level to business owners. Others



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      See Ex. 7.


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have pursued leadership opportunities throughout the brand. For those with their

sights set on becoming managers, a store role can offer the chance to hone their skills

in customer service, inventory management and people development.”26

      125. On or about February 20, 2018, Domino’s filed its 2017 Form 10-K

(hereafter “Annual Report”) with the Securities and Exchange Commission. The

Domino’s 2017 Annual Report includes a section under the heading “Our Ideals.”

In that section, Domino’s asserts:

      We believe in: opportunity, hard work, inspired solutions, winning
      together, embracing community and uncommon honesty.

      Opportunity abounds at Domino’s. You can start in an entry-level
      position and become a store owner – in fact, significantly all of our
      independent domestic franchise owners started their careers with us as
      delivery drivers or in other in-store positions. Thousands of other team
      members – supervisors, trainers, quality auditors, international business
      consultants, marketers and executives – also began their careers in the
      stores. Internal growth and providing opportunities for anyone willing
      to work hard is the foundation of our core beliefs.

      126. Domino’s 2016 Form 10-K contains substantially the same language.

      127. These statements conceal the existence of Domino’s unlawful no-poach

agreement. The no-poach agreement in fact stifles internal growth and stifles

opportunities for employees at Domino’s stores. In not disclosing the existence of

that illicit agreement to franchisee employees, Dominos failed its purported “ideals”

and “core beliefs” of opportunity, winning together, embracing community, and


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      Id.

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uncommon honesty. Beyond failing these “ideals,” Domino’s concealed the truth

from employees and the public. This is another reason employees would have no

reason to have known about the Domino’s no-poach agreement.

      128. Further misleading are statements such as “It takes a team to make it all

work smoothly, from the delivery experts and customer service representatives who

handle orders, make pizza and interact with customers to team leaders and managers

who run the store. And while there may be many different roles within a store,

everyone on the team pitches in and helps out with whatever is needed. Teamwork

– it’s how we roll.”27 Domino’s tells prospective employees that they should join

“because we’re a rock solid brand” and they should stay “because you’re part of the

foundation.”28 It touts that “corporate and franchise store team members make up

the engine that drives a quality product.”29 These actions also conceal the existence

of the collusive no-poach agreement.

      129. Plaintiff and the Class would thus have no reason to know of the no-

poach and no-hire agreements evidenced by franchisees’ contractual undertakings

with Defendants. Plaintiff and the Class are not parties to franchisees’ contractual




27
      Id.
28
      Id.
29
      Id.


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franchise agreements with Defendants. Nor are these contracts routinely provided to

employees.

      130. Although Defendants provided their form franchise documents to some

(but not all) state regulators, franchise disclosure documents and form franchise

agreements are made available by Defendants only upon request by prospective

franchisees.

      131. Defendants’ franchise disclosure documents and form franchise

agreements are not routinely provided to employees (or prospective employees) of

franchisees, whether by Defendants, by franchisee employers, by regulators, or by

anyone else.     Historic franchise disclosure documents and form franchise

agreements would never be available to franchisee employees or prospective

employees.

      132. Because of Defendants’ successful deceptions and other concealment

efforts described herein, Plaintiff and Class members had no reason to know

Defendants had conspired to suppress compensation or employee mobility.

      133. As a result of Defendants’ fraudulent concealment of their conspiracy,

the running of any statute of limitations has been tolled with respect to the claims

that Plaintiff and the Class members have as a result of the anticompetitive and

unlawful conduct alleged herein.




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                             CLAIM FOR RELIEF

              COUNT I: VIOLATIONS OF SECTION 1 OF THE
                  SHERMAN ACT, 15 U.S.C. §1, et seq.
      134. Plaintiff, on behalf of himself and all others similarly situated,

re-alleges and incorporates by reference the allegations contained in the preceding

and succeeding paragraphs of this Complaint, and further alleges against Defendants

as follows:

      135. Beginning no later than 2013, Defendants orchestrated, entered into,

and engaged in unlawful contracts, combinations in the form of trust or otherwise,

and/or conspiracies in restraint of trade and commerce in violation of Section 1 of

the Sherman Act, 15 U.S.C. §1, et seq.

      136. Defendants engaged in predatory and anticompetitive behavior by

orchestrating an agreement to restrict competition among Domino’s franchisees,

which unfairly suppressed management employee wages, and unreasonably

restrained trade.

      137. Defendants’ conduct included concerted efforts, actions and

undertakings among the Defendants and franchise owners with the intent, purpose,

and effect of: (a) artificially suppressing the compensation of Plaintiff and Class

Members; (b) eliminating competition among franchise owners for skilled labor; and

(c) restraining management employees’ ability to secure better compensation,

advancement, benefits, and working conditions.


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      138. Defendants perpetrated the scheme with the specific intent of lowering

costs to the benefit of Defendants and franchise owners.

      139. Defendants’ conduct in furtherance of the no-poach and no-hire

agreement were authorized, ordered, or executed by their officers, directors, agents,

employees, or representatives while actively engaging in the management of

Defendants’ affairs.

      140. Plaintiff and Class members have received lower compensation from

Domino’s franchise businesses than they otherwise would have received in the

absence of Defendants’ unlawful conduct and, as a result, have been injured in their

property and have suffered damages in an amount according to proof at trial.

      141. Defendants’ contracts, combinations, and/or conspiracies are per se

violations of Section 1 of the Sherman Act.

      142. In the alternative, Defendants are liable under a “quick look” analysis

where an observer with even a rudimentary understanding of economics could

conclude that the arrangements in question would have an anticompetitive effect on

employees and labor.

      143. Defendants’ contracts, combinations, and/or conspiracies have had a

substantial effect on interstate commerce.

      144. As a direct and proximate result of Defendants’ contract, combination,

and/or conspiracy to restrain trade and commerce, Plaintiff and Class members have



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suffered injury to their business or property and will continue to suffer economic

injury and deprivation of the benefit of free and fair competition.

      145. Plaintiff and the Class members are entitled to treble damages,

attorneys’ fees, reasonable expenses, costs of suit, and, pursuant to 15 U.S.C. §26,

injunctive relief, for the violations of the Sherman Act and the threatened continuing

violations alleged herein.

                              PRAYER FOR RELIEF

      Wherefore, Plaintiff, on behalf of himself and members of the Class, requests

that this Court:

      A.     Determine that the claims alleged herein may be maintained as a Class

Action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order

certifying the Class as defined above;

      B.     Appoint Plaintiff as the representative of the Class and his counsel as

Class Counsel;

      C.     Declare that Defendants’ actions as set forth in this Complaint violate

the law;

      D.     Award Plaintiff and the Class damages in an amount according to proof

against Defendants for Defendants’ violations of 15 U.S.C. §1, to be trebled in

accordance with those laws;




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          E.    Award all actual, general, special, incidental, statutory, punitive, and

consequential damages and restitution to which Plaintiff and the Class members are

entitled;

          F.    Grant a permanent injunction enjoining Defendants from enforcing or

adhering to any existing agreement that unreasonably restricts competition as

described herein;

          G.    Declare Defendants be permanently enjoined and restrained from

establishing any similar agreement unreasonably restricting competition for

management employees except as prescribed by this Court;

          H.    Declare Defendants to be financially responsible for the costs and

expenses of a Court-approved notice program by mail, broadcast media, and

publication designed to give immediate notification to Class members;

          I.    Award pre-judgment and post-judgment interest on such monetary

relief;

          J.    Award reasonable attorneys’ fees and costs; and

          K.    Grant such further relief that this Court deems appropriate.

                                     JURY DEMAND

          Plaintiff demands a trial by jury on all issues so triable.

 Dated: October 15, 2018                 THE MILLER LAW FIRM, P.C.

                                         /s/ E. Powell Miller
                                         E. Powell Miller (P39487)

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